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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


 JEANETTE L. BAILEY,

                          Plaintiff,
V.                                                                   Civil No. 2:18cv392


VIRGINIA DEPARTMENT OF
ALCOHOLIC BEVERAGE CONTROL,

                        Defendant.




                                        OPINION AND ORDER


        This    matter          is    before    the    Court   on   a    Motion    to    Dismiss

filed    by     Defendant            Virginia       Department of       Alcoholic       Beverage

Control        C'ABC"      or ''Defendant"),            pursuant    to    Federal       Rule   of

Civil Procedure 12(b)(6).                      ECF No. 3.       For the reasons stated

below.      Defendant's              Motion    to    Dismiss   is   GRANTED.       The    Court

PROVIDES Plaintiff Jeanette L. Bailey ("Bailey" or "Plaintiff")

with leave to amend the Complaint to cure all defects within

fifteen (15) days after the entry of this Order.

                          I. FACTUAL AND PROCEDURAL HISTORY^


      Bailey is a resident of Chesapeake, Virginia.                               Compl. SI 1,

ECF   No.      1.     Defendant           is    an    agency   of   the    Commonwealth        of

Virginia.           Id.    SI   2.       Defendant      oversees    the    distribution        of


^ The facts recited here come from the Complaint and are assumed true only to
decide the motion to dismiss.             The facts stated here are not factual findings
for any purpose other than consideration of the pending motion. See Erickson
V. ParduS/ 551 U.S. 89, 94 (2007) ("[W]hen ruling on a defendant's motion to
dismiss, a judge must accept as true all of the factual allegations contained
in the complaint.").
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alcohol in Virginia and operates a liquor store at 2301 Colley

Avenue, Norfolk,          Virginia 23517.             Id.     Bailey was employed by

 Defendant as a sales associate at that store location beginning

on April 25, 2017.             Id. SI 7.

         During    Plaintiff's         employment,      a    co-worker       named   Robert

(^"Robert")       touched      Plaintiff     in   a    sexually         suggestive   manner

several times.          Id. SI 9.        In May 2017, Robert touched Plaintiff

on her lower back and ran his fingers up Plaintiff's back.                               Id.

SI 10.     Plaintiff verbally objected.                 Id.     In June 2017, Robert

grabbed Plaintiff by her shoulders and rubbed against her.                               Id.

SI 12.    Plaintiff again verbally objected.                   Id.

         Plaintiff complained after both incidents to Melissa Parker

 {'"Parker").       Id. SISI 10, 12.         Parker was the store manager and

had supervisory, hiring and firing power over Plaintiff.                               Id. SI

8.     Parker disregarded Plaintiff's complaint regarding the May

2017 incident, stating "oh, that's just Bob."                           Id. SI 11.   Parker

told Plaintiff a few days after the June 2017 incident that she

had spoken to Robert and that he would not touch her again.                              Id.

SI 13.


       Further, Plaintiff alleges that throughout her employment,

managers and staff made inappropriate sexual comments, sexual

innuendos,        and   showed        off tattoos located          in    normally-clothed

body      areas.         Id.     SI    14.     These        actions       made   Plaintiff

uncomfortable,          and    Plaintiff     complained       to     Parker.     Id.      In
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particular, Robert would comment on Plaintiff's appearance and

stare at her.         Id.     In July 2017, Plaintiff spoke to ABC's human

resources department and requested to be transferred to another

store.      Id. SI 15.


        On July 15, 2017, Robert^ came up behind Plaintiff, leaned

over and around          her, and dropped a              pen on the       register where

Plaintiff was working.                When    Plaintiff complained that Robert

was violating her personal space, he stated "I'm trying not to

touch you."       Id. SI 17.

        On July 20, 2017, Plaintiff was scheduled to begin work at

9:30 a.m. to prepare the front of the store before the store's

10:00 a.m. opening time.              Id. SI 18.

        When    Plaintiff      arrived,       she    found       feces    spread     on    the

carpets approaching the register as well as a                            bag filled with

feces     and    tissue       paper        next     to    the     register       (^Vuly     20

Incident").       Id. SI 20.

      The      only   other    employees          present    when      Plaintiff     arrived

were Robert and an assistant manager.                      Id. SI 19.      Robert's shift

began     at    9:15     a.m.,       and    his     duties       were    to      handle    the

merchandise      in    the    back    or    storage      areas    of    the   store.        Id.

Robert    was    also    responsible         for    closing      the     store    the     night



- The Complaint refers to a "Mr. Parker."                Id. SI 17 ("On or about July 15,
2017, Mr. Parker came up behind Plaintiff. . . ."). The Court presumes this
was in error, confusing Parker (a woman) and Robert, and was intended to
refer to Robert as indicated by the remainder of the paragraph.
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before.      Id. SI 21.      The assistant manager had been scheduled to

start work at 9:00 a.m.             Id. SI 19.      Plaintiff complained to the

assistant manager about the feces.                 Id. SI 22.

      Later that day, Parker             demanded that Plaintiff pay for a

bottle      of    liquor    that    Plaintiff       overcharged         to    a    customer

approximately one          month   prior.         Id.   SI    23.     Parker made        this

demand even though the bottle was still in the store's inventory

and   the    customer      had   been   refunded        for    the    overcharge.         Id.

Plaintiff        refused   to    pay for    the    bottle,       expressed        to   Parker

that she felt she was being harassed and retaliated against and

resigned her employment that afternoon.                      Id. SI 24.

      On May 9, 2018, Plaintiff filed a one-count Complaint in

the Circuit Court of the City of Norfolk.                            Notice of Removal,

ECF No. 1, SI 1.           The sole count of the Complaint alleges that

ABC   unlawfully       retaliated       against     Plaintiff         in     violation    of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§ 2000e et seq. {"Title VII").              Compl. SISI 25-30.

      On July 11, 2018, Defendant filed a demurrer in the state

court proceeding.          Demurrer, Ex. B of Notice of Removal, ECF No.

1.    On July 20, 2018, Defendant removed the action to this Court

pursuant to 28 U.S.C. § 1441 et seq.                    Notice of Removal, ECF No.

1.


      On    July 27, 2018, Defendant filed its Motion to Dismiss.

ECF No. 3.         In its accompanying memorandum, ABC argues, inter
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alia, that Plaintiff has failed to allege facts to suggest that

Defendant acted adversely against her for engaging in protected

activity,      or     sufficient     facts     to    demonstrate       constructive

discharge.      Def.'s Mem., ECF No. 4 at 1.                Plaintiff filed her

Response on August 10, 2018.                ECF No. 5.       Defendant filed its

Reply on August 16, 2018.            ECF No. 6.

                              II. STANDARD OF REVIEW


      The     well-established        Rule    12(b)(6)      standard      of     review

permits dismissal when a complaint fails "to state a claim upon

which relief can        be granted."          Fed. R. Civ.      P.   12(b)(6).        A

complaint fails to state a claim if it does not allege "enough

facts to state a claim to relief that is plausible on its face."

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).                          Although

a   complaint    need    not    be   detailed, the "[f]actual             allegations

must be enough to raise a right to relief above the speculative

level."       Id. at 555; see Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

      A motion to dismiss tests the sufficiency of a complaint

without resolving factual disputes, and a district court "^must

accept as true all of the factual allegations contained in the

complaint' and        Mraw all reasonable inferences in favor of the

plaintiff.'"          Kensington     Volunteer      Fire    Dep't    v.    Montgomery

Cty.,   684    F.3d    462,    467   (4th    Cir.   2012)   (citation       omitted).

Although the truth of the facts alleged is presumed, district
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courts are not bound by the ^'legal conclusions drawn from the

facts"    and    ''need       not    accept     as    true        unwarranted       inferences,

unreasonable conclusions, or arguments."                            E. Shore Mkts., Inc.

V. Assocs. Ltd. P^ship, 213 F.3d 175, 180 {4th Cir. 2000); see

Iqbal,    556     U.S.    at    678      (citing       Twombly,       550     U.S.    at       555).

"Threadbare       recitals          of   the   elements       of     a    cause     of    action,

supported       by     mere     conclusory         statements,           do   not    suffice."

Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).                                        To

survive   a     motion to dismiss              under Rule         12(b)(6), "a       complaint

must include 'more than an unadorned, the-defendant-unlawfully-

harmed-me      accusation.'"             Johnson      v.    Am.    Towers,    LLC,       781    F.3d

693, 709 (4th Cir. 2015) (quoting Iqbal, 556 U.S. at 678).

      A motion to dismiss pursuant to Rule 12(b)(6) must be read

in   conjunction       with     Federal        Rule    of    Civil       Procedure       8(a)(2).

Rule 8(a)(2) requires only "a short and plain statement of the

claim showing that the pleader is entitled to relief," Fed. R.

Civ. P. 8(a)(2), so as to ". . . give the defendant fair notice

of what the . . . claim is and the grounds upon which it rests.

. . ."        Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355

U.S. 41, 47 (1957)).                Fair notice is provided by setting forth

enough facts for the complaint to be "plausible on its face" and

"raise    a    right     to    relief     above       the   speculative        level       on   the

assumption that all the allegations in the complaint are true
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 (even     if    doubtful     in    fact). . .                   Id.    at   555     (internal

citations omitted).^

                                     III. DISCUSSION


        Title      VII     prohibits       an   employer         from    taking      improper

 retaliatory action against an employee attempting to assert his

or her rights under Title VII.                  According to the statute,

        [i]t shall be an unlawful employment practice for an
        employer   to   discriminate against   any   of  his
        employees...because he has opposed any practice made


3 In its response, ABC attaches five exhibits: (1) the EEOC charge ("Exhibit
1"); (2)        a document titled        "Employee Written Counseling Documentation"
("Exhibit       2"); (3) internal        email correspondence ("Exhibit 3"); (4) a
document    titled "Personnel       Action   Notice" (Exhibit      4);   and   (5)   additional
emails about Bailey's transfer request ("Exhibit 5").
      A motion to dismiss under Rule 12(b)(6) is generally limited to a
review of the allegations in the complaint itself.    Goines v. Valley Cmty.
Servs. Bd., 822 F.3d 159, 165-66 (4th Cir. 2016).        However, courts may
consider documents that are explicitly incorporated into the complaint by
reference, Tellabs, Inc. v. Maker Issues & Rights, Ltd., 551 U.S. 308, 322
(2007), and those attached to the complaint as exhibits. Fed. R. Civ. P.
10(c).    Courts may also consider a document that was not expressly
incorporated or attached to the complaint, so long as the document was
integral to the complaint and there is no dispute about the document's
authenticity.       Am. Chiropractic Ass'n v. Trigon Healthcare, Inc., 367 F.3d
212, 234 (4th Cir. 2004); Phillips v. LCI Int'l, Inc., 190 F.3d 609, 618 (4th
Cir.    1999).      A    document   is   "^integral   to   the    complaint'"      "Vhere   the
complaint relies heavily upon its terms and effect[.]'" Goines, 822 F.3d at
159 (quoting Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir.
2002)).   Courts may look at whether the complaint quotes heavily from the
document; limited quotation or reference to the documents are insufficient to
incorporate those documents. Goines, 822 F.3d at 159 (citing Sira v. Morton,
380 F.3d 57, 67 (2d Cir. 2004)).
      The parties agree that Exhibit 1, the EEOC charge, may be considered.
Pl.'s  Resp., ECF No. 5 at 5 n.3.      Defendant argues that the Court may
consider Exhibits 2-4 as they are a matter of public record, and Exhibits 2-5
are integral to the Complaint. Def.'s Reply, ECF No. 6 at 2-3 n.l.
      ABC does not authenticate these documents (and Plaintiff disputes the
authenticity of Exhibits 3-5, Pl.'s Resp., ECF No. 5 at 5) or explain how
email communications among ABC employees, for instance, are a matter of
public record.      The Complaint does not quote from or even reference Exhibits
2-5. That the documents are about the same incidents as the Complaint is not
sufficient to make them integral.
      As such, the Court only considers Exhibit 1 for the purposes of this
motion; but in any event, consideration of the exhibits would not affect the
determination of the instant motion.
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        an unlawful employment practice by this title, or
        because he has made a charge, testified, assisted, or
        participated       in      any       manner        in     an     investigation,
        proceeding, or hearing under this title.

42 U.S.C. § 2000e-3(a).                  In order to succeed in                   a    retaliation

claim,    an    employee        must        show      that      ""(1)    she    engaged         in   a

protected      activity;        (2)    the       employer       acted      adversely       against

her; and (3) there was a causal connection between the protected

activity and the asserted                   adverse action."               Ziskie       v. Mineta,

547 F.3d 220, 229 {4th Cir. 2008) (citing Holland v. Washington

Homes, Inc., 487 F.3d 208, 218 (4th Cir. 2007)).

                                A. Protected Activity

        As an initial matter, the Court notes that the parties do

not   contest    whether        Plaintiff          engaged       in      protected       activity.

See   Def.'s    Reply,       ECF      No.    6   at    3     (''ABC     never     contested      the

'protected activity,' prong of the analysis[.]").                                 Such activity

can   fall     into    two      categories.              As     the      Fourth       Circuit    has

explained,      "protected            activities           fall         into      two     distinct

categories: participation or opposition.                                An employer may not

retaliate against an employee for participating in an ongoing

investigation         or   proceeding            under        Title      VII,     nor     may    the

employer take adverse employment action against an employee for

opposing discriminatory practices in the workplace."                                      Laughlin

V. Metro. Washington Airports Auth., 149 F.3d 253, 259 (4th Cir.

1998)    (citing      42   U.S.C. § 2000e-3(a)).                        "Opposition       activity
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encompasses utilizing informal grievance procedures as well as

staging informal protests and voicing one's opinions in order to

bring    attention          to    an   employer's      discriminatory       activities."

Lauqhlin, 149 F.3d at 259.

        Where    a        plaintiff     engages       in    opposition     activity,       a

plaintiff must ^'prove that [s]he opposed an unlawful employment

practice    which         [s]he    reasonably        believed   had    occurred     or    was

occurring."          Peters v. Sch. Bd. of City of Virginia Beach, No.

2:01CV120, 2007 WL 295618, at *5 (E.D. Va. Jan. 26, 2007).                                She

must show (1) that she ^'subjectively (that is, in good faith)

believed" that the defendant engaged in a discriminatory action

and (2) "this belief was objectively reasonable in light of the

facts."    Id.


        Plaintiff has engaged in a protected activity by opposing

discrimination            practices      on    the     basis    of      gender     in    the

workplace.           Bailey       alleges     that    she   made     multiple      informal

complaints to Parker               regarding Robert's inappropriate contact,

how Robert stared at her, and the general sexual comments made

by staff.       Compl., ECF No. 1               10, 12, 14.        She also complained

to the assistant manager following the July 20 Incident.                                Id. 5

22.     Further, Bailey alleges what she subjectively believed to

be harassment or a hostile work environment.                          Id. SI 26.     Courts

have     found       it     is    objectively        reasonable       to   believe       that

purported sexual harassment involving inappropriate touching on
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 multiple      occasions        is   an    unlawful employment          practice.          See,

 e.g., Ferrell v. Harris Ventures, Inc., 812 F. Supp. 2d 741, 746

 (E.D. Va. 2011) (denying summary judgment as the plaintiff could

 reasonably believe that the sexual harassment by third party co-

 workers       he   heard    about     was     an     unlawful      employment     practice).

 Here,    Bailey      experienced          the    sexual     harassment.           Therefore,

 Bailey has alleged that she engaged in a protected activity.^

                            B. Adverse Employnien-b Action

        The parties largely contest whether Bailey has adequately

 pled    the    second      element:       whether     she   has    suffered      an   adverse

 employment         action.           An     adverse     employment         action     ''is   a

 discriminatory           act        which       adversely       affects       the     terms,

 conditions, or benefits of the plaintiff's employment."                                  James

 V.   Booz-Allen      &     Hamilton,        Inc.,    368    F.3d    371,   375    (4th   Cir.

 2004) (internal quotations omitted). Two years after the Fourth

 Circuit's James opinion, the Supreme Court shed more light on

 how one determines whether an act has adversely affected terms,

 conditions or benefits of a plaintiff's employment.                              The Supreme

 Court stated in Burlington Northern that an adverse employment

 ^ Courts may draw "the inference of discrimination [in] sexual harassment
 situations, because the challenged conduct typically involves explicit or
 implicit proposals of sexual activity."    English v. Pohanka of Chantilly,
 Inc., 190 F. Supp. 2d 833, 841 (E.D. Va. 2002). Although the Court concludes
 that Bailey opposed discrimination on the basis of gender, it cannot conclude
 that Bailey opposed discrimination on the basis of her Baptist religion.
 Nothing in the Complaint suggests the inappropriate contact, comments, or
 July 20 Incident was on the basis of religion.           To the extent that
 Plaintiff's claims are based on engaging in protected activity opposing
 discrimination on the basis of religion, those claims are dismissed.



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 action must be the type that would have "dissuaded a reasonable

 worker from making or supporting a                          charge of discrimination."

 Burlington       Northern      &    Sante      Fe   Ry.    v.    White,       548    U.S.        53, 68

 (2006)     (internal        quotations         omitted).           Whether       an       employer's

 action     is    likely     to      dissuade        a    worker    is     examined             from   an

 objective reasonable               worker perspective.                 Burlington             Northern,

 548 U.S. at 68.


       The       Complaint      alleges         that       Bailey       suffered          an    adverse

 employment action as ABC engaged in "harassing and retaliating

 against [Bailey] due to her engagement in protected activity, or

 allowing     such      harassment         and       retaliation,         and     constructively

 discharging          her    because         of       her    engagement              in        protected

 activity."        Compl. H 29.

       The       parties     in      their       briefing         identify       four          specific

 instances       of   harassment          and    retaliation,           each    of        which    could

 satisfy     the      adverse       employment           action    element:          1)    denial      of

 Bailey's transfer request, 2) the demand by Parker for Plaintiff

 to pay for a bottle of liquor overcharged to a customer ("Demand

 for   Payment"),       3)    the     July      20     Incident,        and     4)    constructive

 discharge.        Each will be addressed in turn.

                        1. Denial of Bailey's Transfer Request

       In    its      motion,       ABC    argues        that     the    denial       of       Bailey's

 request to transfer to another store location cannot constitute

 a   materially        adverse       employment           action        because       a)       regional


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 management did not have any knowledge of her complaints, b) the

 request was unrelated to the alleged harassment, c) Parker gave

 Plaintiff     a   positive         recommendation       in    connection       with   the

 transfer request, and d) the denial of her transfer request did

 not result in          any    material change to        her    employment.        Def's.

 Mem., ECF No. 4 at 6-7.

        Plaintiff in response states that she does not allege that

 the    denial     of    her    transfer     request     constituted       an    adverse

 employment action.            Pl.'s Resp., ECF No. 5 at 8.               Accordingly,

 it is not necessary to consider                 whether       Defendant's arguments

 have merit.


                                2. Demand for Payment

        Bailey does allege that both the Demand for Payment and the

 July   20   Incident         may   each    serve   as    an    independent      adverse

 employment action.           Plaintiff states:

        [m]ost ^treasonable workers," particularly in an indoor
        retail   setting,   would  likely   be  dissuaded  from
        engaging in protected activity when faced with feces
        smeared and bagged at their workstation (with the
        likely knowledge of a supervisor in the person of the
        assistant manager present in the unopened Store) along
        with   baseless   demands   for   payment   from  their
        supervisor.

 Pl.'s Resp., ECF No. 5 at 10.

        The Demand for Payment is not an adverse employment action.

 As explained, an adverse employment action must adversely affect

 the    terms,      conditions,        or     benefits         of   the   plaintiff's




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 employment.           A    monetary       penalty,       payment      or    fine        could    be

 considered      an        adverse     employment         action       if     it     reduces       a

 plaintiff's compensation.              See, e.g., Fordyce v. Prince George's

 Cty. Maryland, 43 F. Supp. 3d 537, 549 {D. Md. 2014) (holding

 that it was an adverse employment action                            where a penalty was

 automatically         deducted       from     plaintiff's            paycheck).            Here,

 however, Parker only made a request for payment from Plaintiff;

 it is    not    alleged      that     Bailey did         or    was    forced       to    pay the

 penalty or that there was any adverse action for failing to pay

 the   penalty.              Thus,     there        is    no        actual     reduction          in

 compensation.

       The Demand for Payment is more akin then to a reprimand.

 As discussed      at       length    in    Hinton       v.    Virginia      Union       Univ.,    a

 reprimand      also       must    either    have     a    direct      adverse       employment

 effect or exacerbate future discipline in a way that plausibly

 can be expected to create a future adverse employment effect in

 order serve as the adverse employment action element of a Title

 VII discrimination claim.              185 F. Supp. 3d 807, 820-21 (E.D. Va.

 2016).

       Again,     the       Demand    for    Payment          did    not     have    an    actual

 adverse effect; Bailey did not pay it and resigned shortly after

 the   demand    was       made.      The    Complaint         is     also    devoid       of    any

 allegation of future discipline that would have occurred if she




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 did not pay, for instance, that Bailey would have been forced to

 do so at the risk of losing her job.

         Plaintiff     argues    that       the    Supreme       Court's         standard        set

 forth     in    Burlington      Northern          does    not       require          retaliatory

 actions to affect the terms and conditions of employment.                                   Pl.'s

 Resp.,    EOF   No.    5 at    10.     However,          as   cases      like    Fordyce        and

 Hinton     {which       post-date         Burlington          Northern)          demonstrate,

 Burlington      Northern      does    not    replace          the   "'adverse         effect    on

 terms and conditions" test with a "dissuade a reasonable worker"


 standard,       but    merely      explicates        further         on        the    standard.

 Therefore,      the    request       for    payment       does       not       constitute       an

 adverse employment action.

                                 3. July 20 Incident

       Plaintiff's       attempt      to     use    the    July      20     Incident        as   an

 adverse employment action also fails.                         Again, Plaintiff argues

 that ""[m]ost         "reasonable     workers,'          particularly           in    an   indoor

 retail    setting,      would      likely     be    dissuaded         from       engaging       in

 protected activity when faced with feces smeared and bagged at

 their workstation (with the likely knowledge of a supervisor in

 the   person    of    the   assistant       manager       present         in    the    unopened

 Store)[.]"      Def.'s Resp., EOF No. 5 at 10.

       For there to          be a   retaliatory adverse employment action,

 the employer must be the one that acts.                        The Complaint does not




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 contain any allegation (nor does Plaintiff appear to argue) that

 the assistant manager was directly responsible for the feces.

        To the extent that Plaintiff alleges that ABC's failure to

 address     the    July    20     Incident         (through    the   assistant       manager)

 amounted     to    an    adverse      employment        action,      that    argument      also

 fails.       Despite       what    Plaintiff         states    in    her     response,         the

 Complaint is devoid of any allegation that the assistant manager

 knew of the feces prior to Plaintiff beginning her shift.                                     The

 Complaint only alleges that when Plaintiff arrived at work at

 9:30 a.m., she discovered the feces; the assistant manager began

 working     at    9:00    a.m.;    and     that      Robert    began    working      at    9:15

 a.m., and also closed the store the night before.                            Compl. SISI 18-

 21.    Whatever implications these allegations may suggest, they

 fail to survive           Iqbal and Twombly scrutiny; mere implications

 are insufficient to impute                 knowledge to the assistant manager

 and    in   turn,       establish      a      deliberate       failure       to   act     as    a

 retaliatory adverse employment action by Defendant.

        Further, the Complaint is devoid of any allegation that the

 assistant        manager    failed       to    act     after    Plaintiff's       complaint

 about the feces.            The Complaint only alleges that Bailey made

 such   a    complaint      to   the    assistant        manager,      Compl. 5 22,            but

 nothing      about       what     happened          thereafter.          Therefore,           the

 allegations       about     the    July       20    Incident    do     not    make      out    an

 adverse employment action.


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                                    4. Constructive Discharge

         Constructive discharge may serve as the adverse employment

 action       in   a   Title    VII    retaliation        claim.     Courts      have    referred


 to such       claims        as ''retaliatory constructive                discharge."          See,

 e.g., Shetty v. Hampton Univ., No. 4:12CV158, 2014 WL 280448, at

 * 17 (E.D. Va. 2014).

         To    establish        constructive       discharge,        a    plaintiff      must    be

 able to show that her former employer "deliberately ma[de] [her]

 working conditions intolerable, and thereby force[d] [her] to

 quit."        Bristow v. Daily Press, Inc., 770 F.2d 1251, 1255 (4th

 Cir. 1985), cert, denied, 475                   U.S. 1082 (1986).               Therefore, a

 claim of constructive                 discharge      has two elements; a               plaintiff

 must    prove         the    intolerability         of    working       conditions      and    the

 deliberateness of the employer's action.                            Bristow, 770 F.2d at

 1255.


                                       a. Intolerabili-ty

        The "intolerability" of                  work      conditions       is   evaluated       in

 terms of whether a reasonable person would find them so and thus

 be forced to resign.                  Bristow, 770 F.2d at 1255.                "Because the

 claim of constructive discharge is so open to abuse by those who

 leave employment of their own accord, this Circuit has insisted

 that it be carefully cabined."                       Paroline v. Unisys Corp., 879

 F.2d    100,      114       (4th    Cir.   1989).        "[D]issatisfaction        with       work

 assignments,            a     feeling      of   being       unfairly        criticized,        or


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 difficult     or     unpleasant          working         conditions         are      not     so

 intolerable    as    to    compel        a     reasonable        person       to    resign."

 Williams v. Giant Food Inc., 370 F.3d 423, 434 (4th Cir. 2004)

 (citing    Carter   v.    Ball,     33       F.3d   450,    459   (4th       Cir.    1994)).

 Defendant,    without      citing    any       relevant      case,      argues       that    no

 reasonable    employee      would    have         felt     compelled        to     resign    in

 Plaintiff's situation.           Def.'s Reply, ECF No. 6 at 5.

      Courts have found that a reasonable person could find it

 objectively intolerable where an employer causes an employee to

 have significant interaction with a co-worker who has allegedly

 sexually    harassed      her.      See,      e.g.,      Lopez    v.    BMA      Corp.,     No.

 CIV.A.    DKC 13-2406, 2013 WL 6844361, at *12 (D.                          Md.     Dec.    24,

 2013).

      Plaintiff      has   alleged that Parker disregarded                        Plaintiff's

 first complaint regarding Robert in May 2017.                        After Plaintiff's

 second complaint in June 2017, Parker told Plaintiff that Robert

 would not touch her again.               However, another incident occurred

 on July 15, 2017 where Robert leaned over her to drop a pen.                                 To

 the extent Plaintiff has alleged that Parker's inaction or lack

 of sufficient action caused her to continue to work with Robert,

 Plaintiff     has   made     allegations            sufficient         to     fulfill       the




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 intolerability element required to show constructive discharge

 amounting to an adverse employment action.^

                                        b. Deliberateness


        More problematic and largely unaddressed by the parties, is

 Bailey's failure to allege deliberateness.

        ^'Deliberateness           exists      only     if     the    actions        complained       of

 were       intended       by     the    employer        as    an     effort        to     force     the

 plaintiff to quit."                Taylor v. Virginia Union Univ., 193 F.3d

 219, 237 (4th Cir. 1999) (en banc), cert, denied, 528 U.S. 1189

 (2000).        The        deliberateness        of      an    employer's           action    may     be

 proven by actual or circumstantial evidence.                               Carter, 33 F.3d at

 459.


        The         Complaint           alleges         generally            that         "Defendant

 discriminated         against          Plaintiff       with    regard       to     the    terms     and

 conditions of her employment . . . due to                                   her engagement in

 protected      activities" and "Defendant's                        acts     of     malice,    spite.



 5 As Plaintiff has at this stage of the case established intolerability of her
 work conditions based on the alleged sexual harassment alone, it is not
 necessary to consider Defendant's arguments that a reasonable person would
 not find the Demand for Payment and the July 20 Incident so intolerable that
 she would be forced to resign.
       The Court notes, however, that Defendant's Exhibit 3 demonstrates the
 contradiction in ABC's argument.       In those emails, Les Morris, ABC's
 Assistant Director of Retail Operations, expresses confusion over why the
 store is demanding payment from Bailey. The store suffered no monetary loss;
 the customer was overcharged or charged twice for the same bottle of liquor,
 he   was   later   refunded,     and    the   bottle    remained     in    the   store.      Defendant
 argues that since the demand was converted to written counseling or a formal
 reprimand,    it    was    not   intolerable.      However,        the    Demand   for    Payment   was
 baseless.   Defendant also presents no support for its farfetched argument
 that a reasonable person would not find having her workplace covered in feces
 intolerable.




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 and ill will which evince a conscious disregard for the rights

 of    Plaintiff       include,    but    are    not      limited       to:    harassing        and

 retaliating          against   her    due     to     her    engagement        in     protected

 activity,       or     allowing      such    harassment         and     retaliation,           and

 constructively         discharging       her       because      of    her    engagement         in

 protected activity."            Compl. SISl 26, 29.®

         At best, the Complaint alleges in a conclusory manner that

 Defendant       harassed       Plaintiff       or     retaliated        against         her,    or

 ignored        such    harassment       and        retaliation,         because         of     the

 protected       activity.        That    goes       to   the    Title       VII    retaliation

 claim.       Nothing in the Complaint indicates that Defendant took

 such actions against Plaintiff with the intention of forcing her

 to    quit,     as    is   required     in     order       to   make    out       the    adverse

 employment action of retaliatory constructive discharge.

        The Fourth Circuit has stated that intent may be inferred

 from    circumstantial         evidence.        For      instance,      ^'[i]ntent       may    be

 shown     by    evidence       that     an    employee's         resignation            was    the

 reasonably foreseeable consequence of the employer's conduct" or

 that a response by employer that is ^treasonably calculated to

 end    the     intolerable     environment"          was    required.             Amirmokri     v.



 ® To the extent Plaintiff is alleging that Robert's actions led to her
 constructive discharge including any implication that Robert was responsible
 for the July 20 Incident, Robert was not Plaintiff's employer and "wielded no
 supervisory or managerial power over [Plaintiff]."     Honor v. Booz-Allen &
 Hamilton, Inc., 383 F.3d 180, 187 (4th Cir. 2004).       As such,                    his actions
 cannot serve as the basis for a constructive discharge claim.




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 Baltimore      Gas    and    Electric Co.,             60    F.3d     1126,   1132-1133       (4th

 Cir.    1995);       Johnson     v.   K-Mart       Corp.,       131    F.3d    134    (4th    Cir.

 1997)    (same).           However,        demonstrating            deliberateness       through

 circumstances can           be a      higher       bar for       plaintiffs to satisfy.

 See, e.g.. Pollard v. High's of Baltimore, Inc., 281 F.3d 462,

 473 (4th       Cir.    2002)       (finding       the    circumstantial           evidence     was

 insufficient to establish deliberateness).

         Here, the Complaint does not permit the Court to find that

 deliberateness,            based      on    all        the     circumstances,         has     been

 alleged.        For instance, it is not evident how the employee's

 resignation        was     the     reasonably          foreseeable        consequence        of   a

 demand    for      payment       here.       In    fact,       it    appears    the     employer

 expected Bailey to continue her employment and thus pay for the

 bottle.


        The    Court      also    cannot      conclude         that    resignation       was    the

 reasonably foreseeable consequence of any failure to respond to

 the    alleged       continuing       sexual       harassment.            After      Plaintiff's

 June 2011 complaint, Parker spoke with Robert and told Plaintiff

 Robert       would    not    touch         Plaintiff         again.       Another       incident

 occurred      on     July    15,      which       Plaintiff         has   not     alleged      she

 reported.            Nor    is     resignation           the     reasonably          foreseeable

 consequence of any failure to respond to the July 20 Incident

 given the timing; Plaintiff made a complaint on the day of the

 incident and resigned that afternoon.                          In neither instance, did


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 Plaintiff give Defendant the opportunity to correct the problem.

 For all these reasons, the Court concludes Plaintiff has failed

 to   allege    that     the       Defendant       employer    acted        in     a     manner

 calculated to force Plaintiff to quit.

                                      C. Causation


      ^^An employee need not prove causation itself at the prima

 facie case stage: rather, a close temporal relationship between

 the protected activity and the adverse action is sufficient to

 show a causal nexus."             Brockman v. Snow, 217 F. App'x 201, 207

 (4th Cir. 2007) (citing Yashenko v. Harrah's NC Casino Co., LLC,

 446 F.3d 541, 551 (4th Cir. 2006)).                   "While evidence as to the

 closeness     in     time     ^far       from    conclusively       establishes           the

 requisite     causal       connection,     it     certainly    satisfies          the     less

 onerous    burden     of    making    a    prima    facie    case     of    causality.'"

 Yashenko,     446    F.3d    at    551    (quoting    Williams        v.    Cerberonics,

 Inc., 871 F.2d 452, 457 (4th Cir. 1989)).

      The parties do not appear to dispute whether the Complaint

 satisfies this element.              Here,      Plaintiff engaged          in     protected

 activity      when      she       complained        to       Parker        that         Robert

 inappropriately touched her in May and June 2017, and complained

 about   the   July     20    Incident      that    same   date   to    the        assistant

 manager.      The     purported      adverse       employment       actions           followed

 thereafter; the Demand for Payment, the July 20 Incident, and

 Bailey's resignation due to retaliatory constructive discharge


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 all   took    place    on    July    20.    At    most,    there       was    a    two-month

 period      between    the    protected     activity       and     purported         adverse

 employment      actions.         Courts     have    found     that       such       a   close

 temporal connection would be sufficient to fulfill the causation

 element.       King    v.   Rumsfeld, 328        F.3d    145, 151 (4th            Cir. 2003)

 (finding      that    a     two-and-a-half       month     gap     between         protected

 activity      and     adverse       employment     action        was    sufficient         to

 establish      causal       connection);     Clark       County     School         Dist.    v.

 Breeden, 532 U.S. 268, 273 (2001) (per curiam) (noting that some

 cases    ^'accept     mere    temporal     proximity       between       an       employer's

 knowledge of protected activity and an adverse employment action

 as sufficient evidence of causality to establish a prima facie

 case").

                               D. Remaining Argumen-bs

        ABC spends a significant portion of its briefs discussing

 possible Title VII discrimination and hostile work environment

 claims.       However,       Plaintiff     has   indicated       that       the    Complaint

 only includes a single count—Title VII retaliation.                           As such, it

 is    not    necessary      to   consider    the        arguments      to    dismiss       any

 implied     Title     VII   discrimination       and     hostile    work      environment

 claims.




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 1. Relationship of Retaliation Claim to Title VII and Hostile
                                   Work Environment Claims


       To the extent that Defendant is arguing that Plaintiff does

not    have   a   Title        VII    discrimination          claim       or    a    hostile   work


environment claim and thus did not engage in protected activity,

that argument has no merit.                      As already discussed, a plaintiff

does   not    need      to    demonstrate        that       there   was    an       actual   act   of


discrimination to have engaged in protected activity supporting

a retaliation claim.                 Plaintiff merely needs to demonstrate that

she    subjectively            believed,          and       that     it        was    objectively

reasonable        for        her     to   believe,          that    she        was    opposing      a

discriminatory act.                 Peters v. Jenney, 327 F.Sd 307, 320 (4th

Cir. 2003).

       Similarly,        Plaintiff         does       not    need    to    demonstrate         that

there was an actual hostile work environment to have engaged in

protected activity supporting a retaliation claim for opposing

such an alleged hostile work environment.                             She merely needs to

demonstrate that she subjectively and reasonably believed that a

hostile       work           environment          existed.                Boyer-Liberto            v.

Fontainebleau        Corp.,        786    F.3d   264, 284          (4th   Cir. 2015).          Like

the hostile work environment standard itself, courts look to the

pervasiveness        and       severity      of    the       alleged      discrimination           to

determine whether it is objectively reasonable to believe that

she is opposing a hostile work environment.                                Breeden, 532 U.S.




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 at 270-71.       '''A single offensive utterance . . . generally will

 not create a hostile environment without significant repetition

 or an escalation in the harassment's severity. . . .                                   But an

 isolated incident that is physically threatening or humiliating

 will     be    closer—even       if    not     equal-to         the    type     of     conduct

 actionable      on   its    own       because      it   is      ^extremely       serious.'"

 Boyer-Liberto, 786 F.3d at 284 (quoting Faragher v. City of Boca

 Raton,    524    U.S.     775,    788    (1998)).               ^The    more    severe     the

 harassment, the less pervasive it needs to be, and vice versa.'"

 Boyer-Liberto, 786 F.3d               at 284      (quoting Ayissi-Etoh           v.     Fannie

 Mae, 712 F.3d 572, 579 (D.C. Cir. 2013)).

        Here,    it   is    alleged       that      there     are       two    instances     of

 physical       sexual     harassment      in      May   and       June       2017,     another

 instance of harassment without physical contact on July 15, the

 July 20 Incident, the Demand for Payment, and sexual comments on

 a regular basis.          The severity of some of these incidents (e.g.

 the inappropriate physical contact) and the pervasiveness (all

 occurring within a span of three months) is sufficient to meet

 the    reasonably       objective      requirement         at    the     pleading      stage.

 See, e.g., Stewart v. MTR Gaming Grp., Inc., 581 F. App'x 245,

 247 (4th      Cir.   2014) (hostile          work    environment         claim       involving

 inappropriate sexual comments and three incidents of touching).




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                             2. Pleading Standard

         Defendant     further    contends       that    a    constructive      discharge

 claim requires a plaintiff to ^'set out a plausible showing that

 (1)     she     was    subjected      to        a   hostile         work     environment

 ^sufficiently severe        or    pervasive to          alter       the    conditions   of

 [her] employment, and           (2) [she] must show               the abusive working

 environment became so intolerable that her resignation qualified

 as a fitting response.'"            Def.'s Reply, ECF No. 6 at 4 (quoting

 Pennsylvania      State    Police    v.     Suders,         542    U.S.     129,   133-134

 (2004)).        In essence, ABC argues that Plaintiff has failed to

 plead     the    ""something     more"     than        hostile       work    environment

 necessary to state a plausible constructive discharge claim.

         It is true that ""[t]he law is well-settled that a claim of

 constructive discharge requires proof of working conditions that

 are even harsher than those required to state a claim of hostile

 work environment."         Tinsley v. Astrue, No. 3:lO-cv-01184, 2012

 WL 5377881, at *8 (S.D.W.Va. Aug. 15, 2012) (collecting cases),

 report    and    recommendation     adopted,        2012     WL    5381678    (S.D.W.Va.

 Oct. 31, 2012).         As already discussed. Plaintiff has adequately

 plead    the    intolerability      required        for      constructive      discharge

 (and thus,       has also met the         requisite standard for a                 hostile

 work    environment).       That     Plaintiff         did    not    separately     plead

 hostile work environment as an independent cause of action is of

 no moment.




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                                  E. Leave to Amend


        "The   Fourth     Circuit       has   held        that   Mi]f    the    underlying

 facts or circumstances relied upon by a [party] may be a proper

 subject of relief,          he ought to be afforded an opportunity to

 test    his   claim    on      the   merits.'"           Berkeley-Dorchester         Cntys.

 Econ. Dev. Corp. v. U.S. Dep't of Health & Human Servs., 395 F.

 Supp. 2d 317, 325 (D.S.C. 2005) {quoting Pittston Co. v. United

 States,   199   F.3d     694,    705 (4th         Cir.    1999)).      Here,   the    Court

 finds that facts alleged by Plaintiff may be a proper subject of

 relief.       Therefore, the         Court grants Plaintiff leave to amend

 her    Complaint,        See    Edwards      v.    Murphy-Brown,       L.L.C.,    760    F.

 Supp. 2d 607, 633 (E.D. Va. 2011) {granting sua sponte leave to

 amend complaint).

                                      IV. CONCLUSION


        For the reasons stated above. Defendant's Motion to Dismiss

 is GRANTED, ECF No. 3.               The Court PROVIDES Plaintiff with leave

 to amend the Complaint to cure all defects within fifteen (15)

 days after the entry of this Order.

        The Clerk is REQUESTED to send a copy of this Opinion and

 Order to all counsel of record.


        IT IS SO ORDERED


                                                                 /s/
                                                            Mark S. Davis
                                           CHIEF UNITED STATES DISTRICT JUDGE
 Norfolk, Virginia
 January *7      / 2019


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